                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN


In re:                              )
                                    )       Case No. 20-48744
Lapeer Industries, Inc.,            )       Chapter 11
                                    )       Hon. Maria L. Oxholm
             Debtor.                )
                                    /

 ORDER (I) AUTHORIZING DEBTOR TO ENTER INTO AGREEMENT
  FOR SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS
     WITH SUCCESSFUL BIDDER; (II) APPROVING THE ASSET
    PURCHASE AGREEMENT BETWEEN DEBTOR AND BUSINESS
        COMPANY, LLC.; (III) AUTHORIZING THE SALE OF
 SUBSTANTIALLY ALL OF DEBTOR’S ASSETS FREE AND CLEAR OF
      LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES AND
       TRANSFERRING LIENS TO PROCEEDS THEREOF; (IV)
     AUTHORIZING AND APPROVING THE ASSUMPTION AND
  ASSIGNMENT OF THE DEBTOR’S EXECUTORY CONTRACTS AND
    UNEXPIRED LEASES; AND (V) GRANTING RELATED RELIEF
This matter has come before the Court upon the Debtor’s Second Motion for Entry
of an Order (I) Approving Bidding Procedures, (II) Scheduling an Auction and a
Sale Hearing in Connection with the Sale of Substantially All of Debtor’s Assets,
(III) Establishing Dates and Deadlines in Connection with the Sale, (IV) Approving
the Form of the Asset Purchase Agreement, and (V) Granting Related Relief; and
for Entry of an Order (A) Authorizing the Sale of Substantially All of Debtor’s
Assets Free and Clear of Liens, Claims, Encumbrances, and Interests, and (B)
Approving the Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases, and (C) Granting Related Relief; and for Entry of an Order
Establishing an Administrative Claims Bar Date (“Sale Motion”) [Docket No. 353];
and the Court having entered an Order (I) Establishing Bidding Procedures, (II)
Scheduling an Auction and a Sale Hearing in Connection with the Sale of
Substantially All of Debtor’s Assets, (III) Setting Certain Dates and Deadlines in
Connection Therewith, (IV) Approving the Form of the Asset Purchase Agreement,
Including the Termination Fee, and (V) Granting Related Relief, [Docket No. 426],
(“Bidding Procedures Order”) approving procedures (“Bidding Procedures”) for the
sale or disposition of the Debtor’s assets, approving Business Company, LLC (the



20-48744-mlo    Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01   Page 1 of 14
“Buyer”) as stalking horse purchaser pursuant to the asset purchase agreement by
and between the Buyer and the Debtor (the “APA”); and with the Debtor having
thereafter conducted the process to sell its assets pursuant to the Bidding Procedures;
with no other qualified bids having been received by the Debtor; and with the Buyer
thus having submitted the highest and best offer for all assets defined as “Acquired
Assets” identified in the APA, and the Court having reviewed and considered the
Sale Motion, the associated pleadings, and all attachments (collectively, the “Sale
Transaction”); and with it appearing that due notice of the Sale Motion and the APA
has been provided; and with all objections to the Sale Motion having been
withdrawn, resolved or overruled as provided in this Order (“Sale Order”); and with
it appearing that the relief requested in the Sale Motion and granted herein is in the
best interest of the Debtor, its estate, creditors, and all parties in interest in this
chapter 11 case; and after due deliberation thereon; and good cause appearing
therefor, it is hereby FOUND AND DETERMINED THAT:

A. Jurisdiction and Venue. This Court has jurisdiction to decide the relief
requested in the Sale Motion and over the Sale Transaction and the property of the
Debtor’s estate pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b). This matter is a
core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this chapter 11 case
and the Sale Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.

B. Statutory and Rule Predicates. The statutory and other legal predicates for the
relief sought in the Sale Motion are sections 105(a), 363 and 365 of the Bankruptcy
Code, and Bankruptcy Rules 2002, 6004, and 6006.

C. Notice and Opportunity to Object. Actual written notice of, and a fair and
reasonable opportunity to object to and to be heard with respect to the Sale Motion,
the Sale Transaction, the sale of the Acquired Assets free and clear of any Claims
(as defined below), the assumption and assignment of the Debtor’s contracts, and
the relief requested in the Sale Motion has been given, as required by the Bankruptcy
Code and the Bankruptcy Rules, to all persons entitled to notice.

D. Final Order. This Sale Order constitutes a final order within the meaning of 28
U.S.C. § 158(a).

E. Sound Business Purpose. The Debtor has demonstrated good, sufficient, and
sound business purpose and justification for approval of the APA and the Sale
Transaction and in entering into the APA and all related bills of sale, assumption and
assignment agreements and any and all other documents required to transfer the
Debtor’s Assets (collectively, the “Related Agreements”) to the Buyer. The Debtor’s


20-48744-mlo     Doc 454   Filed 02/26/21   Entered 02/26/21 09:41:01    Page 2 of 14
entry into and performance under the APA and Related Agreements (i) is a result of
due deliberation by the Debtor and constitutes a sound and reasonable exercise of
the Debtor’s business judgment (ii) provides value to and is beneficial to the
Debtor’s estates, and is in the best interests of the Debtor and (iii) is reasonable and
appropriate under the circumstances.

F. Compliance with Bidding Procedures. The Debtor and the Buyer complied with
the Bidding Procedures in all respects. The Buyer was the successful bidder for the
Acquired Assets in accordance with the Bidding Procedures.

G. Highest and Best Value. (i) The Debtor and its advisors Amherst Consulting,
LLC (“Amherst”), engaged in a robust and extensive marketing and sale process for
the Acquired Assets (ii) the Debtor and Amherst conducted a fair and open sale
process, (iii) the sale process was non-collusive, duly noticed and provided a full,
fair and reasonable opportunity for any entity to make an offer to purchase the
Acquired Assets, and (iv) the process conducted by the Debtor pursuant to the
Bidding Procedures obtained the highest and best value for the Acquired Assets for
the Debtor and the estate.

H. Fair Consideration. The consideration to be paid by the Buyer under the APA
(i) constitutes fair and reasonable consideration for the Acquired Assets, (ii) is the
highest and best offer for the Acquired Assets, (iii) will provide a greater recovery
for the Debtor’s estate and creditors than would be provided by any other practically
available alternative, and (iv) constitutes reasonably equivalent value and fair
consideration under the Bankruptcy Code and other applicable laws.

I. No Successor or Other Derivative Liability. The Buyer is not, and will not be,
a mere continuation, and is not holding itself out as a mere continuation, of the
Debtor or its estate and there is no continuity between the Buyer and the Debtor. The
Sale Transaction does not amount to a consolidation, merger or de facto merger of
the Buyer and the Debtor.

J. Good Faith; No Collusion. The Debtor and the Buyer, and their respective
counsel and/or advisors, have negotiated, proposed and entered into the APA and
the Sale Transaction contemplated therein in good faith, without collusion and from
arm’s-length bargaining positions. Buyer is a “good faith purchaser” and is acting in
good faith within the meaning of section 363(m) of the Bankruptcy Code and, as
such, is entitled to all the protections afforded thereby. The Buyer has proceeded in
good faith in all respects.



20-48744-mlo     Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01    Page 3 of 14
K. Notice. As evidenced by the certificates of service filed with the Court: (i) due,
proper, timely, adequate and sufficient notice of the Sale Motion, the Sale Hearing,
the Sale Transaction and the Sale Order and the other relief requested in the Sale
Motion was provided by the Debtor; (ii) such notice was good, sufficient and
appropriate under the particular circumstances and complied with the Bidding
Procedures Order, the Bankruptcy Code, the Bankruptcy Rules and the local rules
and orders of the Court; and (iii) no other or further notice of the Sale Motion, the
Sale Transaction, the Sale Hearing, the Sale Order or any of the relief requested in
the Sale Motion is required.

L. Satisfaction of Section 363(f) Standards. Except as otherwise provided in this
Sale Order, the Debtor shall sell the Acquired Assets to the Buyer free and clear of
all liens, claims (including those that constitute a “claim” as defined in section
101(5) of the Bankruptcy Code). “Claims” shall include any and all liabilities or
obligations of the Debtor whatsoever. Those holders of Claims who did not object
(or who ultimately withdrew their objections, if any) to the Sale Transactions or the
Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the
Bankruptcy Code. All persons having Claims of any kind or nature whatsoever
against the Debtor or the Acquired Assets shall be forever barred, estopped and
permanently enjoined from pursuing or asserting such Claims against the Buyer or
any of its assets, property, affiliates, successors, assigns, or the Acquired Assets.

M. Sale Expressly Conditioned Upon Free and Clear. Except as otherwise
provide in this Sale Order, Buyer would not have entered into the APA and would
not consummate the transactions contemplated thereby and hereunder if the sale of
the Acquired Assets were not free and clear of all Claims. A sale of the Acquired
Assets other than one free and clear of all Claims would adversely impact the Debtor,
the estate, and creditors, and would yield substantially less value for the Debtor’s
estate.

N. Assumption and Assignment of the Assigned Contracts; Adequate
Assurance of Future Performance. The ability to assume and assign Debtor’s
contracts is integral to the purpose of the APA, is in the best interests of the Debtor
and its estate, and represents the reasonable exercise of the Debtor’s sound business
judgment. Accordingly, the Assigned Contracts may be assumed by the Debtor and
assigned to the Buyer as provided for in the APA and this Sale Order.

O. Validity of the Transfer. As of the Closing, the transfer of the Acquired Assets
to the Buyer will be a legal, valid and effective transfer of the Acquired Assets and
will vest the Buyer with all right, title and interest of the Debtor in and to the


20-48744-mlo     Doc 454   Filed 02/26/21   Entered 02/26/21 09:41:01    Page 4 of 14
Acquired Assets, free and clear of all Claims. The consummation of the Sale
Transaction is legal, valid and properly authorized under all applicable provisions of
the Bankruptcy Code.

P. Power and Authority. The Debtor, by its CRO Sheldon Stone, (i) has full
corporate power and authority to execute the APA and all other documents
contemplated thereby, and the Sale Transaction has been duly and validly authorized
by all necessary corporate action of the Debtor, (ii) has all of the corporate power
and authority necessary to consummate the transactions contemplated by the APA,
and (iii) upon entry of this Sale Order, other than any consents identified in the APA,
needs no consent or approval from any other person to consummate the Sale
Transaction.

Q. Waiver of Bankruptcy Rules 6004(h) and 6006(d). The sale of the Acquired
Assets must be approved and consummated promptly in order to preserve the value
of the Acquired Assets. Therefore, time is of the essence in consummating the Sale
Transaction. Accordingly, there is sufficient cause to lift the stay contemplated by
Bankruptcy Rules 6004(h) and 6006(d) with regards to the transactions
contemplated by this Sale Order.

R. Legal and Factual Bases. The legal and factual bases set forth in the Sale Motion
and at the Sale Hearing establish just cause for the relief granted herein.

NOW THEREFORE, IT IS ORDERED THAT:

1. Motion is Granted. The Sale Motion and the relief requested therein is granted
and approved as set forth herein.

2. Fair Purchase Price. The consideration provided by the Buyer under the APA
and this Sale Order, which consists of a bid of $1,250,000.00 is fair and reasonable
and payment of this amount constitutes reasonably equivalent value paid for the
Acquired Assets.

3. Approval of the APA. The APA and the Sale Transaction contemplated therein
and all of the terms and conditions thereof are hereby approved.

4. Consummation of Sale Transaction. Pursuant to sections 105, 363 and 365 of
the Bankruptcy Code, the Debtor, as well as its officers, employees and agents, are
authorized to execute, deliver and perform their obligations under and comply with



20-48744-mlo     Doc 454   Filed 02/26/21   Entered 02/26/21 09:41:01    Page 5 of 14
the terms of the APA and to consummate the Sale Transaction pursuant to and in
accordance with the terms and conditions of the APA and this Sale Order.

5. Disposition of Sale Proceeds. The proceeds from the Sale Transaction shall be
distributed as follows:

      a.     $725,000.00 to Manufacturers Capital, a division of Commercial Credit
      Group (“Manufacturers Capital”). Upon receipt of the $725,000.00 payment
      provided for herein, the secured claim asserted by Manufacturers Capital shall
      be deemed fully satisfied and any and all liens and security interests granted
      by Debtor or existing in Debtor’s assets in favor of Manufacturers Capital
      shall be automatically released and be unenforceable against the Debtor and
      the estate without further order of the Court; provided however, any resulting
      general unsecured non-priority deficiency claims against the Debtor shall not
      be deemed satisfied and any such resulting general unsecured non-priority
      deficiency claims are expressly preserved.

      b.     $425,000.00 to Trion Solutions, Inc. Upon receipt of the $425,000.00
      payment provided for herein and the $90,000.00 payment described in 5 (d)
      below, the secured claim asserted by Trion Solutions, Inc. and/or Trion
      Staffing Solutions, Inc. (collectively, “Trion”) shall be deemed fully satisfied
      and any and all liens and security interests granted by Debtor or existing in
      Debtor’s assets in favor of Trion shall be automatically released and be
      unenforceable against the Debtor and the estate without further order of the
      Court; provided however, any resulting general unsecured non-priority
      deficiency claims against the Debtor shall not be deemed satisfied and any
      such resulting general unsecured non-priority deficiency claims are expressly
      preserved.

      c.     $100,000.00 as a carveout and surcharge under section 506(c) of the
      Bankruptcy Code (to which Trion and Manufacturers Capital agree) for the
      benefit of the professionals employed in this case (collectively, the
      “Professionals”) by the Debtor and Official Committee of Unsecured
      Creditors (“Committee”), with $25,000.00 allocated to Winegarden, Haley,
      Lindholm, Tucker, and Himelhoch PLC, $25,000.00 allocated to the Amherst
      Consulting, LLC, $25,000.00 allocated to Miller Canfield Paddock and Stone
      PLC, and $25,000.00 allocated to Oxford Restructuring Advisors, LLC. The
      $100,000.00 shall (i) be free and clear of all liens, claims, encumbrances and
      other interests, in partial satisfaction of the amounts owed by the Debtor to
      the professionals identified above and (ii) not be subject to disgorgement,


20-48744-mlo    Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01   Page 6 of 14
      reduction, reallocation, or dilution of any kind unless the Court fails to award
      or allow more than $25,000 to any such professional identified above on a
      final basis. The funds shall be held in escrow pending further court order or
      approval of fee applications filed by the respective professionals.

      d.     Daniel Schreiber agrees to the forfeiture of the $100,000.00 deposit
      tendered in connection with his purchase offer in this case, which deposit is
      held in the Winegarden, Haley, Lindholm, Tucker, and Himelhoch PLC client
      trust account. The deposit is deemed forfeited to the Debtor and the estate
      without further order of the Court, and at the closing of the sale to Buyer
      Winegarden, Haley, Lindholm, Tucker, and Himelhoch PLC is authorized and
      directed to disburse the sum of $90,000.00 to Trion Solutions Inc. in order to
      provide for the full satisfaction of the lien asserted by Trion. The remaining
      $10,000.00 shall be delivered to the estate, and Winegarden, Haley,
      Lindholm, Tucker, and Himelhoch PLC is authorized and directed to disburse
      said sum to the estate’s account.

      e.     For the avoidance of doubt, all assets not a part of the sale shall remain
      in the Estate. Said assets include, without limitation, the remaining $10,000
      related to the Schreiber deposit, all receivables except for the IMOD
      receivable which will be transferred to Buyer, all cash of the Debtor (which
      the Debtor believes is approximately $91,000.00) including certain funds
      held in escrow related to TAG, and Chapter 5 causes of action with an
      unknown value.

      f.     Following the release of the liens of the secured creditors as outlined in
      subparagraphs a and b above, the Debtor shall immediately pay US Trustee
      fees in the amount of $25,466.75.

6. Additional Instruments and Documents. The Debtor and its respective officers,
employees and agents, are authorized to execute and deliver, and authorized to
perform under, consummate and implement all additional instruments and
documents that may be reasonably necessary or desirable to implement the APA and
to take all further actions as may be (a) reasonably requested by the Buyer for the
purpose of assigning, transferring, granting, conveying and conferring to the Buyer
and/or providing possession to the Buyer of, the Acquired Assets or (b) necessary or
appropriate to the performance of the obligations contemplated by the APA, all
without further order of the Court.

7. Transfer of Assets Free and Clear. Pursuant to sections 105(a), 363(b), 363(f)


20-48744-mlo    Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01    Page 7 of 14
and 365 of the Bankruptcy Code, the Debtor is authorized to transfer the Acquired
Assets in accordance with the terms of the APA and this Sale Order. The Acquired
Assets shall be transferred to the Buyer, and upon the Closing, such transfer shall:
(a) be valid, legal, binding and effective; (b) vest the Buyer with all right, title and
interest of the Debtor in the Acquired Assets; and (c) be free and clear of all Claims
(including Claims of any governmental authority) in accordance with section 363(f)
of the Bankruptcy Code, with all Claims that represent interests in any of the
Acquired Assets to attach to the net proceeds of the Sale Transaction, in the same
amount and order of their priority, with the same validity, force and effect which
they have against the Acquired Assets, and subject to any claims and defenses the
Debtor may possess with respect thereto in each case immediately before the
Closing; provided, however, the net proceeds of the Sale Transaction must be
distributed in accordance with paragraph five above.

8. Holders of Claims Barred and Enjoined. All persons and entities (and their
respective successors and assigns), are hereby forever barred, estopped and
permanently enjoined from asserting or pursuing Claims against the Buyer or the
Acquired Assets.

9. Release of Claims as of Closing; Recording Officers. This Sale Order (a) shall
be effective as a determination that, as of the Closing, all Claims have been
unconditionally released, discharged and terminated as to the Buyer and the
Acquired Assets, and that the conveyances and transfers described herein have been
effected, and (b) is and shall be binding upon and govern the acts of all persons,
including all filing agents, filing officers, title agents, title companies, recorders of
mortgages, recorders of deeds, registrars of deeds, administrative agencies,
governmental departments, secretaries of state, federal and local officials and all
other persons who may be required by operation of law, the duties of their office, or
contract, to accept, file, register or otherwise record or release any documents or
instruments that reflect that the Buyer is the assignee and owner of the Acquired
Assets free and clear of all Claims, or who may be required to report or insure any
title or state of title in or to any lease (all such entities being referred to as “Recording
Officers”). All Recording Officers are authorized and specifically directed to strike
recorded encumbrances, claims, liens and other interests against the Acquired Assets
recorded prior to the date of this Sale Order. A certified copy of this Sale Order may
be filed with the appropriate Recording Officers to evidence cancellation of any
recorded encumbrances, claims, liens and other interests against the Acquired Assets
recorded prior to the date of the Sale Order. All Recording Officers are hereby
directed to accept for filing any and all of the documents and instruments necessary
and appropriate to consummate the transactions contemplated by the APA.


 20-48744-mlo     Doc 454    Filed 02/26/21    Entered 02/26/21 09:41:01      Page 8 of 14
10. Sale Order Constitutes a General Assignment. On the Closing Date, this Sale
Order shall be considered and constitute for any and all purposes a full and complete
general assignment, conveyance and transfer of the Acquired Assets acquired under
the APA or this Sale Order or a bill of sale or assignment transferring good and
marketable title and interest in all of the Acquired Assets to the Buyer.

11. Licenses and Permits. To the maximum extent available under applicable law
and to the extent provided for under the APA, the Buyer shall be authorized, as of
the Closing Date, to operate under any license, permit, registration and governmental
authorization or approval of the Debtor with respect to the Acquired Assets and, to
the maximum extent available under applicable law and to the extent provided for
under the APA, all such licenses, permits, registration and governmental
authorizations and approvals are deemed to have been transferred to the Buyer as of
the Closing Date.

12. No Successor or Other Derivative Liability. By virtue of the Sale Transaction,
the Buyer and its affiliates, successors and assigns, shall not be deemed or considered
to: (a) be a legal successor, or otherwise be deemed a successor to the Debtor; (b)
have, de facto or otherwise, merged with or into the Debtor; or (c) be a continuation
or substantial continuation, or be holding itself out as a mere continuation, of the
Debtor or its estate, businesses or operations, or any enterprise or operations of the
Debtor, in each case by any law or equity, and the Buyer has not assumed nor is it
in any way responsible for any liability or obligation of the Debtor or the Debtor’s
estate, except as expressly set forth in the APA. The Buyer and its affiliates,
successors and assigns shall have no successor, transferee or vicarious liability of
any kind or character, whether known or unknown as of the Closing Date, now
existing or hereafter arising or arising based on action of the Debtor taken after the
Closing Date.

13. Assumption and Assignment of Assigned Contracts. The Debtor is hereby
authorized in accordance with sections 105(a) and 365 of the Bankruptcy Code to
assume and assign its contracts to the Buyer free and clear of all Claims and to
execute and deliver to the Buyer such documents or other instruments as may be
necessary to assign and transfer the contracts to the Buyer. Upon the Closing, the
Buyer shall be fully and irrevocably vested with all right, title and interest of the
Debtor under any assigned contract or lease and, pursuant to section 365(k) of the
Bankruptcy Code, the Debtor shall be relieved from any further liability with respect
to the assigned contracts. The Buyer acknowledges and agrees that it is obligated to
pay all cure costs associated with any contracts it assumes and that from and after


20-48744-mlo     Doc 454   Filed 02/26/21   Entered 02/26/21 09:41:01    Page 9 of 14
the Closing it shall comply with the terms of the assigned contracts in their entirety
unless any such provisions are not enforceable pursuant to the terms of this Sale
Order.

15. Ipso Facto and Similar Clauses Ineffective. Any assumed and assigned
contracts shall be transferred to, and remain in full force and effect for the benefit
of, the Buyer in accordance with its respective terms, notwithstanding any provision
in the contract that prohibits, restricts or conditions such assignment or transfer or
that requires a debtor in possession or a trustee to assume and assign a contract by a
date certain and otherwise provides for automatic rejection of such contract. The
Buyer shall be entitled to operate under any assigned contracts in all ways necessary.

16. No Defaults under Assigned Contracts. Upon the Debtor’s assignment of a
contract to the Buyer under the provisions of this Sale Order, no default shall exist
under any Contract or Lease, and no counterparty to any Contract or Lease shall be
permitted to declare a default against the Debtor or the Buyer or otherwise take
action against the Buyer as a result of any Debtor’s financial condition, bankruptcy
or failure to perform any of its obligations under the Contract or Lease.

17. Waiver of Bankruptcy Rules 6004(h) and 6006(d). Notwithstanding the
provisions of Bankruptcy Rules 6004(h) and 6006(d) or any applicable provisions
of the Local Rules, this Sale Order shall not be stayed after the entry hereof, but shall
be effective and enforceable immediately upon entry, and the fourteen (14) day stay
provided in Bankruptcy Rules 6004(h) and 6006(d) is hereby expressly waived and
shall not apply. Any party objecting to this Sale Order must exercise due diligence
in filing an appeal and pursuing a stay within the time prescribed by law and prior
to the Closing, or risk that its appeal will be foreclosed as moot.

18. Binding Effect of Sale Order. The terms and provisions of the APA and this
Sale Order shall be binding in all respects upon, or shall inure to the benefit of, the
Debtor, its estate and creditors, the Buyer, and their respective affiliates, successors
and assigns, and any affected third parties, including all persons asserting Claims,
notwithstanding any subsequent appointment of any trustee, examiner or receiver
under any chapter of the Bankruptcy Code or any other law, and all such provisions
and terms shall likewise be binding on such trustee, examiner or receiver and shall
not be subject to rejection or avoidance by the Debtor, its estate, creditors or any
trustee, examiner or receiver.

19. Modification of APA. The APA, the Related Agreements and any other
agreements, documents or other instruments, may be modified, amended or


20-48744-mlo    Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01     Page 10 of 14
supplemented by the parties thereto, in a writing signed by each party, and in
accordance with the terms thereof, without further order of the Court; provided that:
(i) any such modification, amendment or supplement does not materially change the
terms of this Sale Order, the APA or any related agreements, documents or other
instruments.

20. Retention of Jurisdiction. This Court shall retain exclusive jurisdiction to,
among other things, interpret, enforce and implement the terms and provisions of
this Sale Order and the APA, all amendments thereto, any waivers and consents
thereunder (and of each of the agreements executed in connection therewith), to
adjudicate disputes related to this Sale Order or the APA (and such other related
agreements, documents or other instruments) and to enforce the injunctions set forth
herein.

21. Covenants; Surviving Obligations. Notwithstanding anything to the contrary
contained in this Sale Order and the APA, Buyer agrees to take any assumed and
assigned contracts subject to, and to assume, abide by, and honor: (i) all monetary
obligations payable under each Assigned Contract; (ii) all the terms, conditions,
covenants and obligations to be performed by Buyer under each assigned contract;
and (iii) the terms, conditions, and restrictions set forth in any assigned contract
(collectively, the “Covenants”). Buyer further agrees to take the applicable assigned
contracts subject to, and to assume, abide by, and honor, all obligations and amounts
payable under the applicable assigned contracts and Covenants that are not yet
known, liquidated or due and owing thereunder (the “Surviving Obligations”), which
will be billed in the ordinary course, whether or not such obligations or amounts
relate to the period prior to the date of assignment of the applicable assigned contract.

22. Release of Potential Estate Causes of Action Against Trion and Covenants
Not to Sue. The Debtor and the Committee (but not its individual members) each,
for itself and on behalf of its successors, assigns, trusts, trustees, attorneys, financial
advisors, Professionals, agents, officers, directors, managers, shareholders,
employees, representatives, subsidiaries, affiliated entities (including any sister
and/or parent company thereof), joint ventures, divisions, general or limited partners,
principals and the heirs, executors, administrators, predecessors, successors,
purchasers and assigns of each of the foregoing (collectively, exclusive of the
individual members of the Committee, the “Debtor/Committee Releasing Parties”),
do hereby release, acquit and forever discharge and covenant not to sue, in any


20-48744-mlo     Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01      Page 11 of 14
jurisdiction, Trion, its successors, assigns, trusts, trustees, attorneys, financial
advisors, professionals, agents, officers, directors, managers, shareholders,
employees, representatives, subsidiaries, affiliated entities (including any sister
and/or parent company thereof), joint ventures, divisions, general or limited partners,
principals and the heirs, executors, administrators, predecessors, successors,
purchasers and assigns of each of the foregoing (collectively, the “Trion Released
Parties”), from any and all debts, demands, causes of action, legal claims, claims,
charges, complaints, suits, warranties, covenants, contracts, promises, obligations,
liability or claim of any kind, type or description, whether known or unknown,
disputed or undisputed, accrued or unaccrued, matured or unmatured, liquidated or
contingent, foreseen or unforeseen, asserted or unasserted, from the beginning of
time through and including the date of entry of this order that they may assert against
the Trion Released Parties, including, but not limited to claims and causes of action
arising under or pursuant to sections 544, 545, 547, 548, 549, and 550 of the
Bankruptcy Code or the Michigan Uniform Voidable Transactions Act, M.C.L. §
566.31, et seq., that arise from or relate to the Bankruptcy Case and the Asset Sale.

23. Release of Potential Estate Causes of Action Against Manufacturers Capital
and Covenants Not to Sue. The Debtor/Committee Releasing Parties do hereby
release, acquit and forever discharge and covenant not to sue, in any jurisdiction,
Manufacturers Capital, its successors, assigns, trusts, trustees, attorneys, financial
advisors, professionals, agents, officers, directors, managers, shareholders,
employees, representatives, subsidiaries, affiliated entities (including any sister
and/or parent company thereof), joint ventures, divisions, general or limited partners,
principals and the heirs, executors, administrators, predecessors, successors,
purchasers and assigns of each of the foregoing (collectively, the “Manufacturers
Capital Released Parties”), from any and all debts, demands, causes of action, legal
claims, claims, charges, complaints, suits, warranties, covenants, contracts,
promises, obligations, liability or claim of any kind, type or description, whether
known or unknown, disputed or undisputed, accrued or unaccrued, matured or
unmatured, liquidated or contingent, foreseen or unforeseen, asserted or unasserted
from the beginning of time through and including the date of entry of this order that
the Debtor/Committee Releasing Parties may assert against the Manufacturers
Capital Released Parties, including, but not limited to claims and causes of action
arising under or pursuant to sections 544, 545, 547, 548, 549, and 550 of the



20-48744-mlo    Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01   Page 12 of 14
Bankruptcy Code or the Michigan Uniform Voidable Transactions Act, M.C.L. §
566.31, et seq., that arise from or relate to the Bankruptcy Case and the Asset Sale.

24. Manufacturers Release of Debtor/Committee. The Manufacturers Released
Parties do hereby release, acquit and forever discharge and covenant not to sue, in
any jurisdiction the Debtor/Committee Releasing Parties from any and all debts,
demands, causes of action, legal claims, claims, charges, complaints, suits,
warranties, covenants, contracts, promises, obligations, liability or claim of any kind,
type or description, whether known or unknown, disputed or undisputed, accrued or
unaccrued, matured or unmatured, liquidated or contingent, foreseen or unforeseen,
asserted or unasserted from the beginning of time through and including the date of
entry of this Order that the Manufacturers Released Parties may assert against
Debtor/Committee Releasing Parties, that arise from or relate to the Bankruptcy
Case and the Asset Sale; provided, however, Manufacturers Capital is not releasing
(a) any resulting general unsecured non-priority deficiency claims against the Debtor
after it receives the funds provided in paragraph 5(a) of this Order; or (b) Schreiber.

25. Trion Release of Debtor/Committee. The Trion Released Parties do hereby
release, acquit and forever discharge and covenant not to sue, in any jurisdiction the
Debtor/Committee Releasing Parties from any and all debts, demands, causes of
action, legal claims, claims, charges, complaints, suits, warranties, covenants,
contracts, promises, obligations, liability or claim of any kind, type or description,
whether known or unknown, disputed or undisputed, accrued or unaccrued, matured
or unmatured, liquidated or contingent, foreseen or unforeseen, asserted or
unasserted from the beginning of time through and including the Effective Date that
the Trion Released Parties may assert against Debtor/Committee Releasing Parties,
that arise from or relate to the Bankruptcy Case and the Asset Sale; provided,
however, Trion is not releasing any resulting general unsecured non-priority
deficiency claims against the Debtor after it receives the funds provided in paragraph
5(b) of this Order.

26. Trion and Manufacturers Releases. (a) Trion Released Parties do hereby
release, acquit and forever discharge and covenant not to sue, in any jurisdiction the
Manufacturers Released Parties from any and all debts, demands, causes of action,
legal claims, claims, charges, complaints, suits, warranties, covenants, contracts,
promises, obligations, liability or claim of any kind, type or description, whether



20-48744-mlo    Doc 454    Filed 02/26/21   Entered 02/26/21 09:41:01    Page 13 of 14
known or unknown, disputed or undisputed, accrued or unaccrued, matured or
unmatured, liquidated or contingent, foreseen or unforeseen, asserted or unasserted
from the beginning of time through and including the Effective Date that the Trion
Released Parties may assert against the Manufacturers Capital Released Parties that
arise from or relate to the Bankruptcy Case and the Asset Sale; and (b)
Manufacturers Released Parties do hereby release, acquit and forever discharge and
covenant not to sue, in any jurisdiction the Trion Released Parties from any and all
debts, demands, causes of action, legal claims, claims, charges, complaints, suits,
warranties, covenants, contracts, promises, obligations, liability or claim of any kind,
type or description, whether known or unknown, disputed or undisputed, accrued or
unaccrued, matured or unmatured, liquidated or contingent, foreseen or unforeseen,
asserted or unasserted from the beginning of time through and including the
Effective Date that the Manufacturers Released Parties may assert against the Trion
Released Parties that arise from or relate to the Bankruptcy Case and the Asset Sale.



Signed on February 26, 2021




20-48744-mlo    Doc 454       Filed 02/26/21   Entered 02/26/21 09:41:01   Page 14 of 14
